 
    

        
		
        

        
        
        
        
        

        
		
        	
		RE AUTHORIZATION OF CASE TYPES IP AND REF



    

	
    
	
	
	
		Skip to Main Content
		Accessibility Statement
	
	
		
			
				
					Help
					Contact Us
				
			
			
				
					e-payments
					Careers
				
			
		
	
	
		
			
			
		
		
			
				Home
				Courts
				Decisions
				Programs
				News
				Legal Research
				Court Records
				Quick Links
			
		
	
			
	
		OSCN Found Document:RE AUTHORIZATION OF CASE TYPES IP AND REF

					

				
  



				
					
					
						
						Previous Case

						
						Top Of Index

						
						This Point in Index

						
						Citationize

						
						Next Case

						
						Print Only
					
					
				

				
				RE AUTHORIZATION OF CASE TYPES IP AND REF2020 OK 102Decided: 12/07/2020THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2020 OK 102, __ P.3d __

				

RE: Authorization of Case Types IP and REF




ORDER


¶1 In order to create more precise case types/prefixes for cases involving Initiative Petitions and Referendum Petitions, the following electronic case types/prefixes are hereby authorized for use on the Oklahoma Supreme Court Network and the Oklahoma Case Information System:


	
		
			
			Case Type/Prefix
			
			
			Description
			
		
		
			
			IP
			
			
			Initiative Petition
			
		
		
			
			REF
			
			
			Referendum Petition
			
		
	


¶2 Currently, cases involving Initiative Petitions and Referendum Petitions are generally given an "O" prefix for the "Other" category docket. This authorization will allow future cases involving Initiative Petitions and Referendums to be given an "IP" or "REF" prefix respectively, which will specifically designate the cases as involving an Initiative Petition or Referendum Petition.

¶3 The above case types/prefixes shall be integrated as soon as practicable for use by the Court Clerk of the Appellate Courts. The case numbers will be assigned by the Clerk of the Appellate Courts in sequence with other appellate cases.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 7th day of December, 2020.


/S/CHIEF JUSTICE



ALL JUSTICES CONCUR.







	Citationizer© Summary of Documents Citing This Document
	
	
		
		Cite
		Name
		Level
		
	
	
	None Found.
	
	
	Citationizer: Table of Authority
	
	
		
		Cite
		Name
		Level
		
	
	
	None Found.
	
	








				
					
					
				

		
		

	
		
			
				oscn
				
				EMAIL: webmaster@oscn.net
				Oklahoma Judicial Center
				2100 N Lincoln Blvd.
				Oklahoma City, OK 73105
			
			
				courts
				
					Supreme Court of Oklahoma
					Court of Criminal Appeals					
					Court of Civil Appeals
					District Courts
				
			
			
				decisions
				
					New Decisions
					Supreme Court of Oklahoma
					Court of Criminal Appeals
					Court of Civil Appeals
									
			
			
				programs
				
					The Sovereignty Symposium
					
					Alternative Dispute Resolution
					Early Settlement Mediation
					Children's Court Improvement Program (CIP)
					Judicial Nominating Commission
					Certified Courtroom Interpreters
					Certified Shorthand Reporters
					Accessibility ADA
									
			
		
	
	
		
			
				
				Contact Us
				Careers
				Accessibility ADA
			
		
	


	
        
        		
        
		
        		
        
        	
    
